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                  IN THE UNITED STATES DISTRICT COURT
                  FOR THE EASTERN DISTRICT OF VIRGINIA
                             Richmond Division


UHURU BAKARA ROME,

      Plaintiff,

V.                                           Civil Action No. 3:19CV418

GREGORY L. HOLLOWAY, ^ al.,

      Defendants.


                           MEMORANDUM OPINION


      By Memorandum Order entered on October 9, 2019, the Court

conditionally docketed the action.         Ukuru Bakara Rowe requested

leave to proceed        forma pauperis.    By Memorandum Order entered

on November 8, 2019, the Court directed Rowe to pay an initial

partial filing fee of $17.75 or state under penalty of perjury

that he did not have sufficient assets to pay such a fee within

eleven (11) days of the date of entry thereof.               See 28 U.S.C.

§ 1915(b)(1).      Rowe has neither paid the initial partial filing

fee nor averred that he cannot pay such a fee.         Therefore, Rowe is

not entitled to proceed          forma pauperis.    Rowe's disregard of

the     Court's   directives    warrants   dismissal    of    the   action.

Accordingly, the action will be dismissed without prejudice.

      The Clerk is directed to send a copy of the Memorandum Opinion

to Rowe.




                                   Robert E. Payne
                                                     /s/       A/
                                   Senior United States District Judge

Date:
Richmond, Virginia       '
